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May 3, 2023
VIA FACSIMILE
The Honorable John Milton Younge
USDC Eastern District of Pennsylvania
4007 US. Courthouse

601 Market Street, Courtroom 4-A
Philadelphia, PA 19106

Re: US. ex rel. Ellsworth Assocs., LLP v. CVS Heaith Corp., et al. 2:19-cv-Q2553-IMY

Dear Judge Younge,

Defendants write to request an for extension of time im this matter, pursuant to
Rule A.1 of your Policies and Procedures for General Matters, Civil Cases and Criminal Cases.

We request a 21-day extension of CVS Health Corporation’s, CVS Pharmacy, Inc.’s,
SilverSeript Insurance Company, LLC’s, and CVS Caremark Corporation’s (“°CVS Defendants”)
time to oppose Relator’s Motion to Strike Affirmative Defenses (ECF No. 60) moving the
deadline from May 12, 2023, to June 2, 2023. No prior request has been made for this relief.

The parties have met and conferred regarding this request, and Relator has
informed Defendants that Relator consents. We thank the Court for its attention to this
matter.

Respectfully submited,
McDERMOTT Witt & Emery LLP

By:/s/ Jennifer B. Routh
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SilverScript Insurance Company, LLC, and
CVS Caremark Corporation

ec: Counsel of Record (Via E-Mail)
